B6E (Official Form 6E) (12/07)

In re        Netwurx, Inc.                                                                                                         Case No.        08-26131
                                                                                               ,
                                                                     Debtor                                                                                      (If known)


                         SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

      A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

      The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on
the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or
the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the
claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

      Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule
E in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

       Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts
entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily
consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

      Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.


q       Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.


TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

q       Domestic Support Obligations

     Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
11 U.S.C. § 507(a)(1).


q Extensions of credit in an involuntary case
     Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

ü Wages, salaries, and commissions
q
     Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).


q Contributions to employee benefit plans
     Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).




                                       Case 08-26131-svk                      Doc 13          Filed 06/20/08                  Page 1 of 4
B6E (Official Form 6E) (12/07) – Cont.


In re       Netwurx, Inc.                                                                     ,                                   Case No.       08-26131
                                                                                                                                                             (If known)
                                                                 Debtor

q       Certain farmers and fishermen

        Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

q       Deposits by individuals

      Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
that were not delivered or provided. 11 U.S.C. § 507(a)(7).


ü Taxes and Certain Other Debts Owed to Governmental Units
q
        Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


q Commitments to Maintain the Capital of an Insured Depository Institution
     Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
§ 507 (a)(9).

q Claims for Death or Personal Injury While Debtor Was Intoxicated

      Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a
drug, or another substance. 11 U.S.C. § 507(a)(10).

     * Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.

                                                                          2 continuation sheets attached




                                        Case 08-26131-svk                    Doc 13           Filed 06/20/08                 Page 2 of 4
B6E (Official Form 6E) (12/07) – Cont.


In re       Netwurx, Inc.                                                                                                                   Case No.        08-26131
                                                                                                      ,                                                                   (If known)
                                                                  Debtor


                         SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                     (Continuation Sheet)


                                                               Type of Priority: Wages, Salaries, and Commissions



                 CREDITOR'S NAME,                                               DATE CLAIM WAS                                             AMOUNT             AMOUNT              AMOUNT
                  MAILING ADDRESS                                                INCURRED AND                                              OF CLAIM         ENTITLED TO             NOT
                INCLUDING ZIP CODE,                                             CONSIDERATION                                                                PRIORITY           ENTITLED TO
               AND ACCOUNT NUMBER                                                  FOR CLAIM                                                                                    PRIORITY, IF
               (See instructions above.)                                                                                                                                            ANY



 ACCOUNT NO.
                                                                                                                                             4,300.00           4,300.00                0.00
                                                                      Employee Debt Expense
 Dave Mack
                                                                      Reports
 W7703 Koshkonong Lake
 Fort Atkinson, WI 53538




Sheet no. 1 of 2 continuation sheets attached to Schedule of
                                                                                                                       SubtotalsØ     $      4,300.00 $          4,300.00 $              0.00
                                                                                                            (Totals of this page)
Creditors Holding Priority Claims


                                                                                                                            Total Ø
                                                                           (Use only on last page of the completed                    $
                                                                           Schedule E. Report also on the Summary of
                                                                           Schedules.)
                                                                                                                            Total Ø
                                                                           (Use only on last page of the completed                                      $                   $
                                                                           Schedule E. If applicable, report also on the
                                                                           Statistical Summary of Certain Liabilities and
                                                                           Related Data. )


                                        Case 08-26131-svk                      Doc 13                Filed 06/20/08                       Page 3 of 4
B6E (Official Form 6E) (12/07) – Cont.


In re       Netwurx, Inc.                                                                                                                   Case No.         08-26131
                                                                                                      ,                                                                    (If known)
                                                                  Debtor


                         SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                     (Continuation Sheet)


                                                               Type of Priority: Taxes and Certain Other Debts Owed to Governmental Units



                 CREDITOR'S NAME,                                               DATE CLAIM WAS                                             AMOUNT              AMOUNT              AMOUNT
                  MAILING ADDRESS                                                INCURRED AND                                              OF CLAIM          ENTITLED TO             NOT
                INCLUDING ZIP CODE,                                             CONSIDERATION                                                                 PRIORITY           ENTITLED TO
               AND ACCOUNT NUMBER                                                  FOR CLAIM                                                                                     PRIORITY, IF
               (See instructions above.)                                                                                                                                             ANY



 ACCOUNT NO.         400004701                                                                                                              138,387.71         138,387.71                0.00
                                                                      Sales tax
 Wisconsin Dept. of Revenue
 141 NW Barstow St.
 Waukesha, WI 53188-3789




Sheet no. 2 of 2 continuation sheets attached to Schedule of
                                                                                                                       SubtotalsØ     $     138,387.71 $        138,387.71 $              0.00
                                                                                                            (Totals of this page)
Creditors Holding Priority Claims


                                                                                                                            Total Ø
                                                                           (Use only on last page of the completed                    $    142,687.71
                                                                           Schedule E. Report also on the Summary of
                                                                           Schedules.)
                                                                                                                            Total Ø
                                                                           (Use only on last page of the completed                                       $     142,687.71 $               0.00
                                                                           Schedule E. If applicable, report also on the
                                                                           Statistical Summary of Certain Liabilities and
                                                                           Related Data. )


                                        Case 08-26131-svk                      Doc 13                Filed 06/20/08                       Page 4 of 4
